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                  8                      UNITED STATES DISTRICT COURT
                  9                    CENTRAL DISTRICT OF CALIFORNIA
                 10                             SOUTHERN DIVISION
                 11 BLIZZARD ENTERTAINMENT, INC.,             CASE NO. 8:19-cv-01582-JVS-DFM
                 12              Plaintiff,                   Honorable James V. Selna
                 13        v.
                    JOYFUN INC CO., LIMITED a/k/a             STIPULATED JUDGMENT AND
                 14 SINA GAMES OVERSEAS (新浪游戏                 PERMANENT INJUNCTION
                    海外), a company organized under the
                 15 laws of Hong Kong; ZROAD                  Trial Date: March 2, 2021
                    (HONGKONG) CO., LIMITED d/b/a
                 16 INSTANTFUNS, a company organized
                    under the laws of Hong Kong;
                 17 INTELLIGENT JOYFUL
                    INTERNATIONAL LIMITED, a
                 18 company organized under the laws of the
                    British Virgin Islands; ZROAD, INC., a
                 19 company organized under the laws of the
                    British Virgin Islands; SHANGHAI
                 20 ZHOUZHONG NETWORK
                    TECHNOLOGY CO., LTD. (上海洲众
                 21 网络科技有限公司), a company
                    organized under the laws of China;
                 22 SHANGHAI YINFAN NETWORK
                    TECHNOLOGY CO., LTD. (上海茵繁
                 23 网络科技有限公
                    司),a company organized under the laws
                 24 of China; WANG HAO (王昊) a/k/a
                    HOWELL WANG, an individual;
                 25 LUTONG ZHOU a/k/a CARLY ZHOU,
                    an individual; DOE 1 a/k/a
                 26 “simosimo2018ab@gmail.com;” DOE 2
                    a/k/a SIMDEV; and DOES 3 through 10,
                 27 inclusive,
    Mitchell     28              Defendants.
  Silberberg &
   Knupp LLP
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                  1         Pursuant to the Parties’ Stipulation dated October 15, 2020, the Court hereby
                  2 orders that judgment is entered against Defendants ZRoad (Hong Kong) Co.,
                  3 Limited; ZRoad, Inc.; Wang Hao (王昊) a/k/a Howell Wang; and Lutong Zhou (周
                  4 璐彤) a/k/a Carly Zhou (the “Zroad Defendants”) as follows.
                  5
                  6         1.    The Zroad Defendants, all persons acting under their control
                  7 (including but not limited to their agents, representatives, and employees acting
                  8 within the scope of their employment), and those persons or companies in active
                  9 concert or participation with the Zroad Defendants who receive actual notice of
                 10 this Order by personal service or otherwise, shall immediately and permanently
                 11 cease and/or desist from knowingly engaging in any of the following:
                 12
                 13               (a)   taking any steps on the Zroad Defendants’, or any of them, own
                 14 behalf in creating, distributing, advertising, marketing or otherwise making
                 15 available (including via any web or mobile app portal, including the “Instantfuns”
                 16 App) the game “Glorious Saga” and/or “Glorious World” and/or any substantially
                 17 similar variants thereof, whether for mobile devices, web browsers, game consoles,
                 18 or personal computers (collectively, the “Game”);
                 19
                 20               (b)   inducing, causing, encouraging, or materially contributing to
                 21 others’ reproducing, distributing, publicly performing, or publicly displaying
                 22 (including via any social media account, website, or video-sharing account) the
                 23 Game;
                 24
                 25               (c)   selling, reselling, or processing payments for the Game;
                 26
                 27               (d)   sharing, copying, transferring, or distributing the Game;
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                  1               (e)    investing or holding any financial interest in any enterprise
                  2 which the Zroad Defendants, or any of them, know or have reason to know is now,
                  3 or intends in the future to be, engaged in any of the activities prohibited by this
                  4 Permanent Injunction.
                  5
                  6         2.    The Zroad Defendants shall promptly shut down, and keep down, any
                  7 and all websites, servers, social media pages or communications, blog posts,
                  8 YouTube videos, file archives (including any GitHub archives), or web pages, if
                  9 any, under the Zroad Defendants’, or any of them, control that host, share, or
                 10 market/promote the Game, and shall promptly notify and cause all those acting in
                 11 concert with the Zroad Defendants, or any of them, to take down and keep down
                 12 any and all such websites, servers, social media, or web pages, if any, hosting,
                 13 sharing, or promoting/marketing the Game.
                 14
                 15         3.    Any company or entity that the Zroad Defendants, or any of them,
                 16 controls in the future shall also comply with the provisions of this Permanent
                 17 Injunction.
                 18
                 19         4.    The Zroad Defendants irrevocably and fully waive notice of entry of
                 20 this Permanent Injunction and notice and service of the entered Permanent
                 21 Injunction.
                 22
                 23         5.    The Zroad Defendants irrevocably and fully waive any and all rights
                 24 to appeal this Permanent Injunction, to have it vacated or set aside, to seek or
                 25 obtain a new trial thereon or otherwise to attack in any way, directly or collaterally,
                 26 its validity or enforceability.
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                  1        6.     Nothing contained in this Permanent Injunction shall limit the right of
                  2 Blizzard to seek any and all available relief for any and all infringements by the
                  3 Zroad Defendants, or any of them, of Blizzard’s Intellectual Property occurring
                  4 after the date of this Permanent Injunction
                  5
                  6        7.     The Court shall retain jurisdiction of this action to entertain such
                  7 further proceedings and to enter such further orders as may be necessary or
                  8 appropriate to implement and enforce the provisions of this Permanent Injunction.
                  9
                 10        The Court finds there is no just reason for delay in entering this Judgment
                 11 and Permanent Injunction and, pursuant to Federal Rule of Civil Procedure 54, the
                 12 Court directs immediate entry of this Judgment and Permanent Injunction against
                 13 Defendants ZRoad (Hong Kong) Co., Limited; ZRoad, Inc.; Wang Hao (王昊)
                 14 a/k/a Howell Wang; and Lutong Zhou (周璐彤) a/k/a Carly Zhou.
                 15
                 16        IT IS SO ORDERED.
                 17
                 18   DATED: October 16, 2020

                 19                                           By:
                                                                    Honorable James V. Selna
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   Knupp LLP
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